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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       Case No. 1:22-cr-374 (DLF)
       v.                                       :
                                                :
LILITH ANTON SAER,                              :
                                                :
               Defendant.                       :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
             TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28

       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and Standing

Order 21-28, of the following exhibits are provided to the Court and counsel to be used by the

government in the sentencing in this matter. Exhibit 4 is United States Capitol Police surveillance

footage (CCTV). Exhibits 1-3 and 5-6 are open-source videos collected by the Federal Bureau of

Investigation. The United States does not object to releasing these exhibits to the public.

       1. Government Exhibit 1 is a video approximately 38 seconds in length that portrays the

            northwest courtyard.

       2. Government Exhibit 2 is a video approximately 12 minutes and 10 seconds in length

            that portrays multiple views of the west side of the building from the exterior.

       3. Government Exhibit 3 is a video approximately 6 minutes and 14 seconds in length that

            portrays the northwest courtyard.

       4. Government Exhibit 4 is a video approximately 34 minutes in length that portrays the

            lobby area inside the Senate Wing Door.

       5. Government Exhibit 5 is a video approximately 42 minutes and 56 seconds in length

            that portrays multiple views of the west side of the building from the exterior, multiple

            locations within the building, and multiple views of the east side of the building from


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           the exterior.

       6. Government Exhibit 6 is a video approximately 8 minutes and 48 seconds in length that

           portrays multiple views of the east side of the building from the exterior.

                                             Respectfully submitted,


                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

                                      By:    /s/ Carolina Nevin
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                                CERTIFICATE OF SERVICE

       On this 28th day of March, 2023, a copy of the foregoing was served on counsel of

record for the defendant via the Court’s Electronic Filing System.


                                      By:    /s/ Carolina Nevin
                                             CAROLINA NEVIN
                                             Assistant United States Attorney




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